                     Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 1 of 12 PageID #: 135

                                                    Exhibit 09: U.S. Patent No. 9,292,066

Claims                Identification
1[pre] A method for To the extent the preamble is limiting, ASUS-branded devices perform a method for an upstream device to configure a
an upstream device plurality of lines in a cable.
to configure a
plurality of lines in
a cable, the method
comprising:




                                                                 Page 1 of 12
         Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 2 of 12 PageID #: 136

Claims   Identification




                                             Page 2 of 12
         Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 3 of 12 PageID #: 137

Claims   Identification
          https://www.asus.com/us/accessories/docks-dongles-and-cable/asus-docks-dongles-and-cable/asus-dual-4k-usb-c-dock;
         https://shop.asus.com/us/90xb07f0-bds000-asus-dual-4k-usb-c-dock.html.




                                                     Page 3 of 12
         Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 4 of 12 PageID #: 138

Claims   Identification




                                             Page 4 of 12
         Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 5 of 12 PageID #: 139

Claims   Identification




         https://www.asus.com/us/laptops/for-home/vivobook/asus-vivobook-13-slate-oled-t3304.




                                                    Page 5 of 12
Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 6 of 12 PageID #: 140




                                    Page 6 of 12
                       Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 7 of 12 PageID #: 141

Claims                 Identification




                       https://www.asus.com/us/laptops/for-home/chromebook/asus-chromebook-c223;
                       https://www.asus.com/us/accessories/adapters-and-chargers/asus-adapters-and-chargers/asus-ac65-00-65w-usb-type-c-adapter.
1[a] the upstream      ASUS-branded devices implementing the USB Type-C specification include the upstream device placing a first voltage on a
device placing a       first one of the lines, the first one of the lines traditionally specified to supply power, for example by applying a first voltage on
first voltage on a     the VBUS pin:
first one of the
lines, the first one
of the lines
traditionally
specified to supply
power;


                       Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 144; Release 2.0 at 139.




                                                                        Page 7 of 12
                     Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 8 of 12 PageID #: 142

Claims               Identification




                     Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 144; Release 2.0 at 141.

1[b] the upstream  ASUS-branded devices implementing the USB Type-C specification include the upstream device grounding a second one of
device grounding a the lines, the second one of the lines traditionally specified to be a ground line for example by utilizing a ground pin:
second one of the
lines, the second
one of the lines
traditionally
specified to be a
ground line;




                     Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 144; Release 2.0 at 139.


1[c] the upstream     ASUS-branded devices implementing the USB Type-C specification include the upstream device receiving a request from a
device receiving a downstream device for a second voltage, the second voltage for supplying power, on a third one of the lines, the third one of
request from a        the lines traditionally specified to convey data, for example, because the USB Type-C specification supports requests for
downstream device additional power (a second voltage) via the VCONN pin. Specifically, the upstream device (source) receives a request from
for a second          the downstream devices (sink) via the following flow:
voltage, the second
voltage for
supplying power,
on a third one of the
                                                                   Page 8 of 12
                     Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 9 of 12 PageID #: 143

Claims               Identification
lines, the third one
of the lines
traditionally
specified to convey
data;




                    https://acroname.com/blog/basics-usb-power-delivery-negotiations




                    USB_PD_R3_1 V1.7 2023-01




                                                                Page 9 of 12
         Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 10 of 12 PageID #: 144

Claims   Identification




         Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 34-35; Release 2.0 at 30-31.




         Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 38; Release 2.0 at 35.




                                                      Page 10 of 12
                       Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 11 of 12 PageID #: 145

Claims                 Identification




                       Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 39; Release 2.0 at 36.




                       https://www.usb.org/sites/default/files/D1T1-2%20-%20USB%20Type-C%20System%20Overview.pdf

                       When delivering power via the VCONN pin, the voltage is supplied via either the CC1 or CC2 pin, which is traditionally used
                       to convey data via the control channel.
1[d] the upstream      ASUS-branded devices implementing the USB Type-C specification include the upstream device placing on the third one of
device placing on      the lines the second voltage for supplying power, for example, by the VCONN sending additional power (a second voltage).
the third one of the

                                                                    Page 11 of 12
                   Case 2:24-cv-00178-JRG-RSP Document 1-10 Filed 03/15/24 Page 12 of 12 PageID #: 146

Claims             Identification
lines the second
voltage for
supplying power.




                   Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 38; Release 2.0 at 35.




                   Universal Serial Bus Type-C Cable and Connector Specification Release 2.3 at 144; Release 2.0 at 139.




                                                                Page 12 of 12
